              IN THE UNITED STATES DISTRICT COURT FOR THE
              EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

 ALBERTA LOUISE PERRY, surviving spouse
 and next kin of VINCENT MCKINNEY,
 deceased,

         Plaintiff,

 v.                                                  No. 3:22-cv-00132-KAC-JEM
                                                     JURY DEMAND
 NUCOR INSULATED PANEL GROUP, INC,
 d/b/a METL-SPAN,

         Defendants.
                                               /

                      PLAINTIFF’S MOTION TO CONSOLIDATE

         Plaintiff, Alberta Louise Perry, surviving spouse and next kin of Vincent

 McKinney, deceased, by and through her undersigned counsel, hereby moves this

 Court for an Order Consolidating Case No. 3:21-cv-00414 with Case No. 3:22-cv-

 00132. As grounds, Plaintiff shows to the Court the following:

      1. In Case No. 3:21-cv-00414, Defendant Jenkins & Stiles, LLC identified Metl-

 Span as a potential defendant in its Answer to Plaintiff’s Amended Complaint (Case

 No. 3:21-cv-00414, D.E. 15).

      2. Plaintiff filed a Second Amended Complaint in that case naming NCI Group,

 Inc., d/b/a Metl-Span (“NCI Group”) as a defendant (Case No. 3:21-cv-00414, D.E. 29).

      3. In a March 29, 2022 email from Counsel for Nucor Insulated Panel Group, Inc.

 (“Nucor”), attached hereto as Exhibit “A”, Plaintiff’s Counsel was informed Nucor

 purchased the Metl-Span business line and brand from NCI Group in 2021.




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    4. On April 13, 2022, Plaintiff filed a new action pursuant to Tenn. Code Ann. §

 20-1-119 (“Savings Statute”) against Nucor.       The claims against Nucor involve

 allegations of wrongful death brought by Plaintiff and arise from the same occurrence

 as in Case No. 3:21-cv-00414.

    5. Under Fed.R.Civ.P. 42, where actions before a court, “involve a common

 question of law or fact, the court may: (1) join for hearing or trial any or all matters

 at issue in the actions; (2) consolidate the action.” Here, it is submitted it is in the

 interests of judicial economy and all parties will benefit from a single, consolidated

 case for scheduling, discovery and should relieve witnesses of the need to attend

 multiple depositions. Consolidation of the cases for discovery and pre-trial

 proceedings will decrease the burdens on the parties and witnesses, reduce expenses,

 and promote judicial economy.

       Wherefore, Plaintiff respectfully requests the Court enter an order

 consolidating Case No. 3:22-cv-00132 with Case No. 3:21-cv-00414.




                                         Respectfully submitted,

                                     THE LAW FIRM FOR TRUCK SAFETY, LLP


                                         /s/Matthew E. Wright
                                         Matthew E. Wright, No. 022596
                                         840 Crescent Centre Drive
                                         Suite 310
                                         Franklin, TN 37067
                                         P: (615) 455-3588
                                         F: (615) 468-4540
                                         matt@truckaccidents.com



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                                          Steven K. Leibel
                                          Admitted pro hac vice
                                          Steven Leibel, P.C.
                                          3619 S. Chestaee
                                          Dahlonega, GA 30533
                                          P: (404) 892-0700
                                          F: (770) 844-0015
                                          steven@leibel.com

                                          Attorneys for Plaintiff
                                          ALBERTA LOUISE PERRY
                                          next kin and surviving spouse of
                                          Vincent McKinney, deceased




                            CERTIFICATE OF SERVICE

 I hereby certify that a true and correct copy of the foregoing was served via the Court’s

 ECF filing system to the following:


 Caroline A. Shea
 A. James Spung
 Husch Blackwell, LLP
 736 Georgia Avenue
 Suite 300
 Chattanooga, TN 37402

 Sarah C. Hellmann
 Husch Blackwell, LLP
 190 Carondelet Plaza
 Suite 600
 St. Louis, MO 63105

 Attorneys for Defendant Nucor
 Insulated Panel Group, Inc.

 On May 16, 2022.
                                                /s/ Matthew E. Wright
                                                Matthew E. Wright



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